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 1                                              FILED
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 2                                         KING COUNTY
                                      SUPERIOR COURT CLERK
 3                                            E-FILED
                                      CASE #: 20-2-08545-6 SEA
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 6
                IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON
                              IN AND FOR KING COUNTY
 7

 8     KERSTIN G. HAGSTROM, an individual,
 9                                                        Cause No.
                                           Plaintiff,
10                                                        COMPLAINT FOR PERSONAL
               v.
                                                          INJURIES
11
       SAFEWAY, INC., a foreign corporation
12     registered and doing business in
       Washington, d/b/a SAFEWAY STORE
13     #526; SAFEWAY STORES, INC., a
       foreign corporation registered and doing
14     business in Washington; THE
15     ALBERTSONS COMPANIES
       FOUNDATION, a foreign corporation;
16     NEW ALBERTSON’S, INC., a foreign
       corporation; ALBERTSON’S, LLC, a
17     foreign corporation; ABC Co., and DOES
       1-3,
18                                      Defendants.

19

20
            The plaintiff, Kerstin G. Hagstrom, for cause of action against the defendants,
21
     alleges as follows:
22

23

24
     COMPLAINT FOR PERSONAL INJURIES                              SCOTT & SCOTT, PLLC
                                                                   4800 AURORA AVE. N.
25   PAGE 1 OF 7                                                    SEATTLE, WA 98103
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                                                                    FAX: (206) 622-9671
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 1                                   I.     Parties and Jurisdiction

 2          1.1     At all material times herein the defendant, Safeway, Inc., formed a for-profit

 3   business corporation under the laws of the State of Washington. All acts done by the

 4   Safeway store #526 located at 14444 124th Ave NE, Kirkland, Washington 98304 were done
     for the profit of the defendant Safeway, Inc. On or about May 8, 2017, the defendant,
 5
     Safeway, Inc., owned, operated and/or controlled Safeway store, #526, located at 14444
 6
     124th Ave. NE, Kirkland, Washington.
 7
            1.2     At all material times herein the defendant, Safeway Stores, Inc., formed a for-
 8
     profit business corporation under the laws of the State of Washington. All acts done by the
 9
     Safeway store #526 located at 14444 124th Ave NE, Kirkland, Washington 98304 were done
10
     for the profit of the defendant Safeway Stores, Inc. On or about May 8, 2017, the defendant,
11
     Safeway Stores, Inc., owned, operated and/or controlled Safeway store, #526, located at
12
     14444 124th Ave. NE, Kirkland, Washington.
13          1.3     At all material times herein the defendant, The Albertsons Company
14   Foundation., formed a for-profit business corporation under the laws of the State of
15   Washington. All acts done by the Safeway store #526 located at 14444 124th Ave NE,
16   Kirkland, Washington 98304 were done for the profit of the defendant Albertsons Company
17   Foundation. On or about May 8, 2017, the defendant, The Albertsons Company Foundation,

18   owned, operated and/or controlled Safeway store, #526, located at 14444 124th Ave. NE,

19   Kirkland, Washington.

20          1.4     At all material times herein the defendant, New Albertson’s, Inc., formed a

21   for-profit business corporation under the laws of the State of Washington. All acts done by
     the Safeway store #526 located at 14444 124th Ave NE, Kirkland, Washington 98304 were
22
     done for the profit of the defendant New Albertson’s, Inc. On or about May 8, 2017, the
23

24
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 1   defendant, New Albertson’s, Inc., owned, operated and/or controlled Safeway store, #526,

 2   located at 14444 124th Ave. NE, Kirkland, Washington.

 3          1.5     At all material times herein the defendant, Albertsons, LLC, formed a for-

 4   profit business corporation under the laws of the State of Washington. All acts done by the
     Safeway store #526 located at 14444 124th Ave NE, Kirkland, Washington 98304 were done
 5
     for the profit of the defendant Albertsons, LLC. On or about May 8, 2017, the defendant,
 6
     Albertsons, LLC, owned, operated and/or controlled Safeway store, #526, located at 14444
 7
     124th Ave. NE, Kirkland, Washington.
 8
            1.6     ABC, Co. is a business whose true name and legal entity is unknown at this
 9
     time. At all material times herein, the defendant ABC, Co., owned and operated Safeway
10
     store #526. All acts done by the Safeway store #526 located at 14444 124th Ave NE,
11
     Kirkland, Washington 98304 were done for the profit of the defendant ABC, Co. On or
12
     about May 8, 2017, the defendant, ABC, Co., owned, operated and/or controlled Safeway
13   store, #526, located at 14444 124th Ave. NE, Kirkland, Washington. Plaintiff requests
14   permission to amend her complaint at the time of trial to allege the correct name and legal
15   entity of the defendant.
16          1.7     At all material times herein, DOES 1-3 were three owners who owned and
17   operated Safeway store #526. All acts done by the Safeway store #526 located at 14444

18   124th Ave NE, Kirkland, Washington 98304 were done for the profit of the defendants

19   DOES 1-3. On or about May 8, 2017, the defendants, DOES 1-3, owned, operated and/or

20   controlled Safeway store, #526, located at 14444 124th Ave. NE, Kirkland, Washington.

21   The plaintiff requests permission to amend her complaint upon discovery of the true names
     and legal identities of the defendants DOES 1-3.
22

23          1.8     Plaintiff Kerstin Hagstrom is a resident of King County, Washington.

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 1          1.9     The incident giving rise to this cause of action occurred in King County,
 2
     Washington, and all parties either live or do business in King County, Washington;
 3
     jurisdiction is proper pursuant to RCW 2.08.010.
 4
            1.10     Venue is properly placed in King County Superior Court.
 5

 6

 7                                     II. Factual Allegations

 8          2.1     On or about May 8, 2017 one or more of the defendants negligently created,

 9   ignored and/or caused a dangerous condition that caused Plaintiff Kerstin Hagstrom to fall

10   on the floor of the Kirkland Safeway store, located in King County Washington. The
     negligence of one or more of the defendants’ employees was the proximate cause of the fall
11
     experienced by the plaintiff.
12

13                                      III. Causes of Action
14
            3.1     Under the doctrine of respondeat superior, Defendants are liable for the acts
15
     and omissions of their employees and agents, including but not limited to the store manager,
16
     which caused harm to their business invitee, Kerstin Hagstrom, in the operation of Safeway
17
     grocery store #526.
18
            3.2     Defendants owed Plaintiff a duty to maintain its premises in a reasonably safe
19
     manner and protect Kerstin Hagstrom from dangerous conditions on defendant’s premises that
20

21   they knew or should have known about.

22

23

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     COMPLAINT FOR PERSONAL INJURIES                             SCOTT & SCOTT, PLLC
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            3.3     Defendants breached their duty of care to Plaintiff to inspect the premises and
 1
     remove the liquid that had accumulated on the premises since it posed a foreseeable danger to
 2

 3   her safety.

 4          3.4     Defendants breached said duty of care including, but not limited to:

 5                  a. Failing to maintain the premises in a safe condition.

 6                  b. Failing to inspect the premises for unsafe or dangerous conditions.
 7                  c. Failing to warn of a dangerous condition.
 8
                    d. Failing to remove liquid from, and adequately maintain, the floor for the
 9
                       safety of the Plaintiff.
10
                    e. Failing to exercise reasonable care under the circumstances.
11
            3.5     Defendants had actual or constructive knowledge of the dangerous condition
12
     and failed to remove the danger.
13
            3.6     The negligence of Defendants was a direct and proximate cause of the injuries
14

15   claimed by plaintiff Kerstin Hagstrom.

16
                                                  IV. Damages
17
            4.1     As a direct and proximate result of the negligence of the defendants, the
18
     plaintiff, Kerstin G. Hagstrom, suffered severe injuries to her body necessitating medical
19
     treatment. As a consequence, the plaintiff incurred medical expenses and related travel
20
     expenses and will continue to incur medical expenses and related travel expenses, all to her
21
     special damage in an amount to be proven at the time of trial.
22
            4.2     As a direct and proximate result of the negligence of the defendants, the
23
     plaintiff, Kerstin G. Hagstrom, endured severe pain, both mental and physical, suffering,
24
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 1   disability, and loss of enjoyment of life. Plaintiff will continue to suffer said damages in the

 2   future, all to her general damage in an amount to be proven at the time of trial.

 3

 4                                         V. Prayer for Relief

 5                  WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

 6          A. For all past and future economic damages allowable under the law in amounts to

 7              be proven at the time of trial;

 8          B. For all past and future non-economic damages allowable under the law in amounts

 9              to be proven at the time of trial;

10          C. For past and future loss of enjoyment of life;

11          D. For past and future physical, psychological, and emotional pain and suffering;

12          E. For past and future disability;

13          F. For past and future inconvenience;

14          G. For past and future mental and emotional pain or anguish;

15          H. For past and future medical, hospital and other such health care expenses and for

16              related travel expenses;

17          I. For costs of the lawsuit;

18          J. For pre-judgment interest;

19          K. For attorney’s fees and,

20          L. For such and further relief as the Court may deem just and proper.

21   \\

22   \\

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24
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         Dated this 6th day of May, 2020.
 1
                                      SCOTT & SCOTT, PLLC
 2
                                      By: /s/Rachel E. Scott
 3                                    Rachel E Scott, WSBA # 31895
 4                                    Scott & Scott, PLLC
 5                                    4800 Aurora Ave. N.
                                      Seattle, WA 98103
 6                                    PH: 206-622-2200
                                      FX: 206-622-9671
 7                                    e-mail: rachel@scottlawseattle.com
                                      Attorney for Plaintiff
 8

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